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                           EXHIBIT 43
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                                                                  Appendix VI




             EMPLOYEES RETIREMENT SYSTEM OF THE GOVERNMENT
                  OF THE COMMONWEALTH OF PUERTO RICO

                       __________________________________



                     PENSION FUNDING BOND RESOLUTION


                       __________________________________




                            Adopted on January 24, 2008
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                       that this requirement should not apply to the           as Fiscal Agent under this Resolution. The Fiscal Agent shall
                       Global Insight Report mentioned in                      signify its acceptance of the duties and obligations imposed upon it
                       paragraph (i) above prior to January 1, 2009            by this Resolution by executing the certificate of authentication
                       when used during 2008); and (b) (I) in the              endorsed upon the Bonds, and by executing such certificate upon
                       case of Senior Bonds, for each Bond Year,               any Bond the Fiscal Agent shall be deemed to have accepted such
                       the projected Employers’ Contributions for              duties and obligations not only with respect to the Bond so
                       such year are equal to or greater than 140%             authenticated, but with respect to all Bonds thereafter to be issued,
                       of the corresponding Accrued Payment                    but only, however, upon the terms and conditions set forth in this
                       Obligation for the additional Senior Bonds              Resolution.
                       proposed to be issued and the Senior Bonds
                       and corresponding Parity Obligations                                SECTION 802.           Responsibilities of Fiscal Agent.
                       outstanding immediately after the issuance              The Fiscal Agent undertakes to perform such duties and only such
                       of such additional Bonds; or (II) in the case           duties as are specifically set forth in this Resolution, and no
                       of Subordinated Bonds, for each Bond Year,              implied covenants or obligations shall be read into this Resolution
                       the projected Employers’ Contributions for              against the Fiscal Agent. The recitals of fact herein and in the
                       such year are equal to or greater than 125%             Bonds contained shall be taken as the statements of the System and
                       of the corresponding Accrued Payment                    the Fiscal Agent assumes no responsibility for the correctness of
                       Obligation for the additional Subordinated              the same. The Fiscal Agent makes no representations as to the
                       Bonds proposed to be issued and the Senior              validity or sufficiency of this Resolution or any Supplemental
                       Bonds,       Subordinated     Bonds       and           Resolution or of any Bonds issued thereunder or as to the security
                       corresponding        Parity      Obligations            afforded by this Resolution or any Supplemental Resolution, and
                       outstanding immediately after the issuance              the Fiscal Agent shall incur no liability in respect thereof. The
                       of such additional Bonds.                               Fiscal Agent makes no representations as to the value, condition or
                                                                               sufficiency of any assets pledged or assigned as security for the
                        2.        Refunding Bonds issued pursuant              Bonds, the right, title or interest of the System therein, or the
 to Section 204 of this Resolution which generate savings in every             security provided thereby or by this Resolution. The Fiscal Agent
 Bond Year are exempt from complying with the coverage tests                   shall, however, be responsible for its representation contained in its
 required by (iii) above.                                                      certificate of authentication on the Bonds. The Fiscal Agent shall
                                                                               be under no responsibility or duty with respect to the
            SECTION 709.          General.                                     authentication and delivery of the Bonds for value or the
                                                                               application of the proceeds thereof or the application of any
                                                                               moneys paid to the System. The Fiscal Agent shall not be
                        1.         The System shall do and perform             responsible for the validity, perfection, priority or enforceability of
 or cause to be done and performed all acts and things required to             the pledge and security interest in the Pledged Property created or
 be done or performed by or on behalf of the System under the                  intended to be created by this Resolution, whether or not impaired
 provisions of the Act and this Resolution. Specifically, the System           by operation of law. No provision of this Resolution shall be
 shall do and perform or cause to be done and performed all acts               deemed to impose any duty or obligation on the Fiscal Agent to
 and things required to be done or performed by or on behalf of the            perform any act or acts, receive or obtain any interest in property
 System with regards to the collection of the Employers’                       or exercise any interest in property, or exercise any right, power,
 Contributions as provided in the Act.                                         duty or obligation conferred or imposed on it in any jurisdiction in
                                                                               which it shall be illegal, or in which the Fiscal Agent shall be
                       2.          The System shall oppose any                 unqualified or incompetent in accordance with applicable law, to
 attempt by the Legislature of the Commonwealth to reduce the                  perform any such act or acts, to receive or obtain any such interest
 Employers’ Contribution Rate or to make any other change in the               in property or to exercise any such right, power, duty or obligation.
 Act or any other relevant legislation that would have a material              The Fiscal Agent shall be under no obligation or duty to perform
 adverse effect on Bondholders. Such opposition shall include                  any act which would involve it in expense or liability or to institute
 delivering written position papers to the Legislature of the                  or defend any suit in respect hereof, or to advance any of its own
 Commonwealth, appearing before Legislative committees, and                    moneys, unless provided with security and indemnity satisfactory
 contacting individual legislators and other government officials to           to it. The Fiscal Agent shall be under no obligation to exercise any
 make legislators and other government officials aware that such               of the rights or powers vested in it by this Resolution at the request
 reductions in the Employers’ Contribution Rate or other changes               or direction of any of the Owners pursuant to this Resolution,
 may adversely affect the ability of the System to comply with its             unless such Owners shall have offered to the Fiscal Agent security
 obligations and may ultimately have an adverse effect on the credit           or indemnity satisfactory to the Fiscal Agent against the costs,
 of the Commonwealth.                                                          expenses and liabilities which might be incurred by it in
                                                                               compliance with such request or direction. The permissive right of
                        3.          Upon the date of authentication            the Fiscal Agent to take actions enumerated in this Resolution shall
 and delivery of any of the Bonds, all conditions, acts and things             not be construed as a duty. The Fiscal Agent shall not be liable in
 required by law and this Resolution to exist, to have happened and            connection with the performance of its duties under this Resolution
 to have been performed precedent to and in the issuance of such               except for its own gross negligence or willful misconduct. The
 Bonds shall exist, shall have happened and shall have been                    Fiscal Agent shall not be liable for any error of judgment made in
 performed and the issue of such Bonds, together with all other                good faith by an Authorized Officer of the Fiscal Agent, unless it
 indebtedness of the System, shall be within every debt and other              shall be proved that the Fiscal Agent was grossly negligent in
 limit prescribed by the laws of the Commonwealth.                             ascertaining the pertinent facts. The Fiscal Agent shall not be
                                                                               liable with respect to any action taken or omitted to be taken by it
                    ARTICLE VIII                                               in good faith in accordance with the direction of the Owners of a
             CONCERNING THE FISCAL AGENT                                       majority in principal amount of the Outstanding Bonds relating to
                                                                               the time, method and place of conducting any proceeding for any
                                                                               remedy available to the Fiscal Agent or exercising any trust or
           SECTION 801.         Fiscal Agent Appointment and
                                                                               power conferred upon the Fiscal Agent under this Resolution. The
 Acceptance of Duties. The Bank of New York is hereby appointed
                                                                               Fiscal Agent shall not be liable for any action taken, suffered, or


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  evidenced by the        Subordinated    Bonds     and   Subordinate             application by such trustee, fiscal agent or paying agent of any
  Obligations; and                                                                moneys deposited with such trustee, fiscal agent or paying agent
                                                                                  for the purpose of the payment of or on account of the principal
                                     (3)        notwithstanding the               (and premium, if any) and interest on such Subordinated Bonds
  foregoing, in the event that, upon any such dissolution or winding              and Subordinate Obligations if such trustee, fiscal agent or paying
  up or liquidation, any payment or distribution of assets of the                 agent did not have knowledge at the time of such application that
  System of any kind or character, whether in cash, property or                   such payment was prohibited by the foregoing provisions.
  securities, including any such payment or distribution which may
  be payable or deliverable by reason of the payment of any other                                       (d)          No owner of Senior Bonds and
  indebtedness or other obligations of the System being subordinated              Parity Obligations shall be prejudiced in this right to enforce
  to the payment of the Subordinated Bonds and Subordinate                        subordination of the Subordinated Bonds and Subordinate
  Obligations, shall be received by the Fiscal Agent or by the owners             Obligations by any act or failure to act on the part of the System.
  of the Subordinated Bonds or Subordinate Obligations (or by the
  Fiscal Agent on behalf of the Owners of the Subordinated Bonds                                         (e)       Any issue of Subordinated Bonds
  or the Subordinate Obligations) before all Senior Bonds and Parity              and Subordinate Obligations may have such rank or priority with
  Obligations are paid or duly provided for in full, such payment or              respect to any other issue of Subordinated Bonds and Subordinate
  distribution shall be paid over to the owners of such Senior Bonds              Obligations as may be provided herein, in the applicable
  and Parity Obligations for application to the payment thereof until             Supplemental Resolution or other instrument securing such issue
  such Senior Bonds and Parity Obligations shall have been paid or                of Subordinated Bonds and Subordinate Obligations and may
  provision for such payment shall have been made in full.                        contain such other provisions as are not in conflict with the
                                                                                  provisions of this Resolution.
                          Upon any payment or distribution of assets
  of the System referred to in this Section 1201, the Fiscal Agent and                       SECTION 1202.               Liability of Fiscal Agent
  the owners of the Subordinated Bonds and Subordinate Obligations                and successor Fiscal Agent in respect of Subordination.
  shall be entitled to rely upon (i) any order or decree of a court of
  competent jurisdiction in which such dissolution, winding up,                               With respect to the Owners of Senior Bonds and Parity
  liquidation or reorganization proceedings are pending or (ii) a                 Obligations, the Fiscal Agent undertakes to perform or to observe
  certificate of the liquidating trustee or agent or other person                 only such of its covenants and objectives as are specifically set
  making any payment or distribution to the Fiscal Agent or the                   forth in this Resolution, and no implied covenants or obligations
  owners of the Subordinated Bonds and Subordinate Obligations for                with respect to the owners of Senior Bonds and Parity Obligations
  the purpose of ascertaining the persons entitled to participate in              shall be read into this Resolution against the Fiscal Agent. Neither
  such payment or distribution, the owners of Senior Bonds and                    the Fiscal Agent nor any successor Fiscal Agent shall be deemed to
  Parity Obligations and other indebtedness of the System, the                    owe any fiduciary duty to the owners of Subordinated Bonds and
  amount thereof or payable thereon, the amount or amounts paid or                Subordinate Obligations and shall not be liable to such owners if it
  distributed thereon and all other facts pertinent thereto, or to this           shall mistakenly pay over or transfer to owners of Senior Bonds
  Article.                                                                        and Parity Obligations, the System or any other person, moneys to
                                                                                  which any owners of Subordinated Bonds and Subordinate
                         (c)       (1)        In the event that                   Obligations shall be entitled by virtue of this Section 1202 or
  moneys available to pay Bonds shall not be sufficient to pay in full            otherwise; provided, however, that neither the Fiscal Agent nor
  all amounts due on the Bonds, the owners of all Senior Bonds and                any successor Fiscal Agent shall be relieved from liability for its
  Parity Obligations then Outstanding shall be entitled to receive                own negligent action, its own negligent failure to act, or its own
  payment in full of all principal of and interest on all such                    willful misconduct. Notwithstanding any of the provisions of this
  obligations then due and payable before the owner of any                        Section 1202 or any other provision of this Resolution, neither the
  Subordinated Bond or Subordinate Obligation is entitled to receive              Fiscal Agent nor any such successor Fiscal Agent shall at any time
  any payment from the Pledged Property of principal (and premium,                be charged with knowledge of the existence of any facts that would
  if any) or interest upon such Subordinated Bond and Subordinate                 prohibit the making of any payment of moneys to or by the Fiscal
  Obligation.                                                                     Agent or any such successor Fiscal Agent in respect of
                                                                                  Subordinated Bonds and Subordinate Obligations or of any default
                                    (2)         The provisions of                 in the payment of the principal of or premium, if any, or interest on
  subsection (b) and (c) are solely for the purpose of defining the               any Subordinated Bonds and Subordinate Obligations, unless and
  relative rights of the owners of Senior Bonds and Parity                        until the Fiscal Agent or such successor Fiscal Agent shall have
  Obligations on the one hand, and the owners of Subordinated                     received written notice thereof from the System or the owners of a
  Bonds and Subordinate Obligations on the other hand, and nothing                majority in principal amount of any class or category of any
  therein shall impair, as between the System and the owners of the               Subordinated Bonds and Subordinate Obligations or from any
  Subordinated Bonds and Subordinate Obligations, the obligation of               fiscal agent or other fiduciary therefor and any financial institution
  the System, which is unconditional and absolute, to pay to the                  that provides credit or security for any Subordinated Bonds and
  owners thereof the principal thereof and premium, if any, and                   Subordinate Obligations; and before the receipt of any such written
  interest thereon in accordance with their terms, nor shall anything             notice, the Fiscal Agent shall be entitled in all respects to assume
  therein prevent the owners of the Subordinated Bonds and                        that no such facts exist; provided, however, that if the Fiscal Agent
  Subordinate Obligations from exercising all remedies otherwise                  shall not have received the notice provided for in this Section 1202
  permitted by applicable law or thereunder upon default thereunder,              at least two Business Days prior to the date upon which by the
  subject to the rights under subsections (b) and (c) of the owners of            terms hereof any money may become payable for any purpose
  Senior Bonds and Parity Obligations to receive cash, property or                (including, without limitation, the payment of the principal of, any
  securities from the funds pledged to Senior Bonds and Parity                    premium or interest on any Bond of such series), then, anything
  Obligations under this Resolution otherwise payable or deliverable              herein contained to the contrary notwithstanding, the Fiscal Agent
  to the owners of the Subordinated Bonds and Subordinate                         shall have full power and authority to receive such money and to
  Obligations; and insofar as a trustee, fiscal agent or paying agent             apply the same to the purposes for which they were received, and
  for such Subordinated Bonds and Subordinate Obligations is                      shall not be affected by any notice to the contrary that may be
  concerned, the foregoing provisions shall not prevent the                       received by it within two Business Days prior to such date.


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